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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RICHARD DOWNING,
Plaintiff,
v.
ORDER
PHELPS MEMORIAL HOSPITAL, :
NORTHWELL HEALTH INC., BARUCH : 16 CV 1114 (VB)
BERZON, M.D., SANDRA CARNICIU, M.D.,
and THOMAS LEE, M.D.,
Defendants.
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As discussed at a telephone conference held on October 21, 2020, attended by counsel for
all parties, it is HEREBY ORDERED:

1. The next conference in this case shall take place on December 3, 2020, at 3:30
p.m. The parties shall use the following information to connect by telephone:

Dial-In Number: (888) 363-4749 (toll free) or (215) 446-3662;

Access Code: 1703567.

Dated: October 21, 2020
White Plains, NY

SO ORDERED:

Vil

Vincent L. Briccetti
United States District Judge

 
